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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,               CR No.     2:20-cr-00576 -MCS
11
               Plaintiff,                    I N F O R M A T I O N
12
               v.                            [18 U.S.C. § 1956(h): Conspiracy
13                                           to Engage in Money Laundering; 18
     GHALEB ALAUMARY,                        U.S.C. § 982 and 28 U.S.C.
14     aka “G,”                              § 2461(c): Criminal Forfeiture]
       aka “Backwood,”
15     aka “Big Boss,”

16             Defendant.

17

18        The United States Attorney charges:
19                                     COUNT ONE
20                              [18 U.S.C. § 1956(h)]
21   A.   INTRODUCTORY ALLEGATIONS AND DEFINITIONS
22        1.    At times relevant to this Information:
23                                     Defendant
24              a.    Defendant GHALEB ALAUMARY, also known as (“aka”) “G,”
25   aka “Backwood,” aka “Big Boss” (“ALAUMARY”), was a resident of
26   Canada.
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 1                                   Bank Accounts

 2              a.     “US Bank Account 1” was a bank account at U.S. Bank,

 3   N.A., with the account number ending in 6155, which was held in

 4   Woodland Hills, California.

 5              b.     “US Bank Account 2” was a bank account at U.S. Bank,

 6   N.A., with the account number ending in 7096, which was held in

 7   Inglewood, California.

 8              c.     The “CIBC Account” was a bank account held at Canadian

 9   Imperial Bank of Commerce, with the account number ending in 1716,

10   which was held in Ontario, Canada.

11              d.     The “Chase Account” was a bank account held at JP

12   Morgan Chase Bank, N.A. (“Chase”), with the account number ending in

13   6628, which was held in Pearland, Texas.

14                                       Victims

15              e.     The “Victim Indian Bank” was a bank headquartered in
16   India.
17              f.     BankIslami Pakistan Limited (“BankIslami”) was a bank
18   headquartered in Pakistan.
19              g.     The “Victim Maltese Bank” was a bank headquartered in
20   Malta.
21              h.     The “Victim English Premier League Club” was a
22   professional soccer club located in the United Kingdom.
23              i.     The “Victim U.K. Company” was a company located in the
24   United Kingdom.
25              j.     The “Victim Federal Contractor” was a federal
26   contracting business in the State of North Dakota.
27              k.     The “Victim Consumer Products Company” was a consumer
28   products company in the State of North Carolina.

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 1               l.   The “Victim Law Firm” was a law firm in the State of

 2   New York.

 3                                    Definitions

 4               m.   An Automated Teller Machine (“ATM”) cash-out occurs
 5   where a hacker gains unauthorized access to the computer(s) of a
 6   bank, intercepts ATM transaction data, and causes fraudulent ATM
 7   withdrawal requests to be approved, thereby causing a requesting ATM
 8   to dispense cash to coconspirators.
 9               n.   A cyber-heist occurs where a hacker gains access to
10   the computer(s) of a bank without authorization and sends messages
11   through the Society for Worldwide Interbank Financial
12   Telecommunication (“SWIFT”) communication system from the victim
13   bank’s computer system, authorizing and causing fraudulent wire
14   transfers to bank accounts used and controlled by coconspirators.
15               o.   A business email compromise (“BEC”) fraud occurs where
16   a hacker tricks personnel of a victim company into making
17   unauthorized wire transfers by (a) gaining unauthorized access to an
18   email account used by a business; (b) blocking or redirecting
19   communications to and/or from the email account; (c) and using the
20   compromised email account or a separate fraudulent email account to
21   communicate with personnel from a victim company (which may be the
22   company to which the compromised account belongs, or another company
23   doing business with that company).
24               p.   “Cryptocurrency” or “virtual currency” is a digital
25   asset designed to work as a medium of exchange that uses cryptography
26   to secure financial transactions, control the creation of additional
27   units of the currency, and to verify and transfer assets.
28   Cryptocurrency is typically accessed using secret or private

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 1   encryption “keys” which are commonly stored using a software

 2   “wallet.”

 3   B.   OBJECTS OF THE CONSPIRACY

 4        2.     Beginning on an unknown date, but no later than on or about
 5   August 7, 2018, and continuing until on or about October 17, 2019, in
 6   Los Angeles County, within the Central District of California, and
 7   elsewhere, defendant ALAUMARY, and unindicted coconspirator #1
 8   (“UICC 1”), unindicted coconspirator Ramon Olorunwa Abbas (“Abbas”),
 9   unindicted coconspirator #2 (“UICC 2”), unindicted coconspirator #3
10   (“UICC 3”), unindicted coconspirator #4 (“UICC 4”), and unindicted
11   coconspirator #5 (“UICC 5”), together with others known and unknown
12   to the United States Attorney, knowingly conspired:
13               a.   to conduct and attempt to conduct financial
14   transactions, affecting interstate and foreign commerce, knowing that
15   the property involved in the financial transactions represented the
16   proceeds of some form of unlawful activity, which, in fact, involved
17   the proceeds of specified unlawful activity -- namely, obtaining
18   information from a protected computer, in violation of Title 18,
19   United States Code, Section 1030(a)(2)(C); accessing a protected
20   computer to defraud and obtain value, in violation of Title 18,
21   United States Code, Section 1030(a)(4); and wire fraud, in violation
22   of Title 18, United States Code, Section 1343 -- and knowing that the
23   transactions were designed in whole and in part to conceal and
24   disguise the nature, location, source, ownership, and control of the
25   proceeds, in violation of Title 18, United States Code, Section
26   1956(a)(1)(B)(i);
27               b.   to transport, transmit, and transfer, and attempt to
28   transport, transmit, and transfer, a monetary instrument and funds

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 1   from a place in the United States to a place outside of the United

 2   States, knowing that the monetary instrument and funds involved in

 3   the transportation, transmission, and transfer represented the

 4   proceeds of some form of unlawful activity, and knowing that the

 5   transportation, transmission, and transfer were designed in whole and

 6   in part to conceal and disguise the nature, location, source,

 7   ownership, and control of the proceeds of specified unlawful activity

 8   -- namely, obtaining information from a protected computer, in

 9   violation of Title 18, United States Code, Section 1030(a)(2)(C);

10   accessing a protected computer to defraud and obtain value, in

11   violation of Title 18, United States Code, Section 1030(a)(4); and

12   wire fraud, in violation of Title 18, United States Code, Section

13   1343 --   in violation of Title 18, United States Code, Section

14   1956(a)(2)(B)(i); and

15              c.    to knowingly engage and attempt to engage in monetary

16   transactions affecting interstate and foreign commerce involving

17   criminally derived property of a value greater than $10,000, which

18   property was derived from specified unlawful activity -- namely,

19   obtaining information from a protected computer, in violation of

20   Title 18, United States Code, Section 1030(a)(2)(C); accessing a

21   protected computer to defraud and obtain value, in violation of Title

22   18, United States Code, Section 1030(a)(4); and wire fraud, in

23   violation of Title 18, United States Code, Section 1343 -- in

24   violation of Title 18, United States Code, Section 1957.

25   C.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

26        ACCOMPLISHED
27        3.    The objects of the conspiracy were to be accomplished, in
28   substance, as follows:

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 1                                   ATM Cash-Outs

 2              a.    In an ATM cash-out scheme, after UICC 1 or another

 3   coconspirator had gained unauthorized access to the computer(s) of a

 4   bank, UICC 1 or another coconspirator would ask defendant ALAUMARY to

 5   recruit and organize coconspirators to withdraw cash from ATMs

 6   (“runners”).

 7              b.    At times, defendant ALAUMARY would provide UICC 1 or

 8   another coconspirator with debit card account numbers to which they

 9   could credit funds.

10              c.    UICC 1 or another coconspirator would provide

11   defendant ALAUMARY with debit card account numbers and pin numbers

12   that were to be used in the ATM cash-out scheme.

13              d.    Defendant ALAUMARY or a coconspirator would code blank

14   debit cards with the debit card account information provided by UICC

15   or another coconspirator.

16              e.    UICC 1 or another coconspirator would cause fraudulent

17   ATM withdrawal requests to be approved, which would cause a

18   requesting ATM to dispense cash to runners who possessed the debit

19   cards.

20              f.    Defendant ALAUMARY would correspond with runners, and

21   other coconspirators who assisted defendant ALAUMARY in organizing

22   the runners, including UICC 3 and UICC 4, to coordinate the

23   withdrawal of cash from ATMs in the United States and Canada.

24                                 Bank Cyber-Heists

25              g.    In a bank cyber-heist scheme, after UICC 1 or another
26   coconspirator had gained unauthorized access to the computer(s) of a
27   bank, UICC 1 or another coconspirator would ask defendant ALAUMARY
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 1   for bank accounts that could be used to receive funds that would be

 2   fraudulently obtained by hackers through a bank cyber-heist.

 3              h.    Defendant ALAUMARY would ask unindicted coconspirator

 4   Abbas and other coconspirators for bank accounts that could be used

 5   to receive the funds.

 6              i.    Unindicted coconspirator Abbas and other

 7   coconspirators would provide account information for a bank account

 8   or bank accounts that could be used to receive fraudulently obtained

 9   funds, including the bank account number and the SWIFT code, or the

10   international bank account number (“IBAN”), and defendant ALAUMARY

11   would provide this information to UICC 1 or another coconspirator.

12              j.    UICC 1 or another coconspirator would, after hacking

13   into the computer network of a victim bank, send a fraudulent message

14   through the SWIFT system of the victim bank, directing a wire

15   transfer from the victim bank to the bank account(s) identified to

16   receive fraudulently obtained funds.

17              k.    Defendant ALAUMARY would correspond with unindicted

18   coconspirator Abbas and other coconspirators to coordinate the

19   receipt, and subsequent withdrawal, of cash from the bank accounts.

20                                    BEC Schemes

21              l.     In a BEC scheme, defendant ALAUMARY, on the one hand,
22   and unindicted coconspirator Abbas, UICC 2, UICC 5, and other
23   coconspirators, on the other hand, would request from each other a
24   bank account that could be used to receive funds from a BEC scheme.
25              m.    Defendant ALAUMARY, on the one hand, and unindicted
26   coconspirator Abbas, UICC 2, and UICC 5, on the other hand, would
27   send each other account information for a bank account that could be
28   used to receive fraudulently obtained funds, including the bank

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 1   account number and the SWIFT code, or the IBAN.         Such a bank account

 2   would be opened by UICC 3 or UICC 4, or another coconspirator, to

 3   conceal the fraudulent nature of the transaction and the involvement

 4   of defendant ALAUMARY, unindicted coconspirator Abbas, UICC 2,

 5   UICC 5, and other coconspirators.

 6              n.    Unindicted coconspirator Abbas, UICC 2, and UICC 5, or

 7   other coconspirators would communicate with a victim-company --

 8   fraudulently pretending to be a company doing business with the

 9   victim-company -- and would provide the victim-company with

10   instructions to wire transfer a payment to the bank account.

11              o.    After the victim-company had been fraudulently induced

12   to wire transfer funds into the bank account, defendant ALAUMARY

13   would correspond with unindicted coconspirator Abbas, UICC 2, UICC 3,

14   UICC 4, and UICC 5 to coordinate the receipt, and subsequent

15   withdrawal or transfer of those funds from the bank account.

16                             Further Money Laundering

17              p.    After obtaining funds through an ATM cash-out, bank
18   cyber-heist, or BEC scheme, defendant ALAUMARY, and UICC 1,
19   unindicted coconspirator Abbas, UICC 2, UICC 3, UICC 4, and UICC 5,
20   and other coconspirators, would further launder the funds through a
21   variety of means, including wire transfer(s) to a bank account in the
22   name of UICC 3 or additional bank accounts in the names of persons
23   other than defendant ALAUMARY, UICC 1, unindicted coconspirator
24   Abbas, UICC 2, UICC 4, and UICC 5; cash withdrawals and transfers; or
25   exchanging the funds for cryptocurrency -- sometimes with the
26   assistance of additional coconspirators.        This money laundering
27   activity would include transfers of funds into, from, and through the
28   United States.

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 1              q.     Defendant ALAUMARY and his coconspirators attempted to

 2   fraudulently obtain and launder hundreds of millions of dollars in

 3   this manner.

 4   D.   OVERT ACTS

 5        4.    In furtherance of the conspiracy, and to accomplish its
 6   objects, defendant ALAUMARY, and UICC 1, unindicted coconspirator
 7   Abbas, UICC 2, UICC 3, UICC 4, and UICC 5, together with others known
 8   and unknown to the United States Attorney, on or about the dates set
 9   forth below, committed and caused to be committed various overt acts,
10   in the Central District of California and elsewhere, including, but
11   not limited to, the following:
12                                   ATM Cash-Outs
13        Overt Act No. 1:       On August 11, 2018, and in the days
14   following, defendant ALAUMARY communicated with UICC 1 and
15   coordinated with runners to conduct withdrawals from ATMs and further
16   launder funds, after hackers gained unauthorized access to the
17   computer network of the Victim Indian Bank and caused ATMs to
18   dispense approximately $16.3 million to coconspirators, including
19   within the Central District of California.
20        Overt Act No. 2:       On October 27, 2018, and in the days
21   following, defendant ALAUMARY communicated with UICC 1 and
22   coordinated with runners to conduct withdrawals from ATMs and further
23   launder funds, after hackers gained unauthorized access to the
24   computer network of BankIslami and caused ATMs to dispense
25   approximately $6.1 million to coconspirators, including within the
26   Central District of California.
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 1                                 Bank Cyber-Heists

 2        Overt Act No. 3:       On January 16, 2019, defendant ALAUMARY sent

 3   electronic messages to unindicted coconspirator Abbas requesting two

 4   bank accounts that could each receive €5 million wire transfers from

 5   the Victim Maltese Bank.

 6        Overt Act No. 4:       On January 16, 2019, unindicted

 7   coconspirator Abbas responded with electronic messages providing the
 8   account information for a bank account in Romania (the “Romanian bank
 9   account”), including the IBAN.
10        Overt Act No. 5:       On January 18, 2019, after defendant
11   ALAUMARY sent an electronic message to unindicted coconspirator Abbas
12   asking about the “maximum amount” the Romanian bank account could
13   “handle in 24hr,” unindicted coconspirator Abbas responded “It’s for
14   large amounts[.]”
15        Overt Act No. 6:       On January 18, 2019, defendant ALAUMARY sent
16   electronic messages to unindicted coconspirator Abbas saying, “[m]y
17   associates want u to clear as soon it hits . . . Cuz a recall can
18   be,” and, “if they don’t notice we keep pumping.”
19        Overt Act No. 7:       From February 7, 2019 through February 11,
20   2019, defendant ALAUMARY sent electronic messages to other
21   coconspirators, requesting bank accounts that could be used to
22   receive funds from the cyber-heist from the Victim Maltese Bank.
23        Overt Act No. 8:       On February 10, 2019, after defendant
24   ALAUMARY sent electronic messages to unindicted coconspirator Abbas
25   saying that he had “6 slots in total [¶] all 5m euro,” and needed
26   additional bank accounts to receive “big hit in 12th feb” that would
27   “all credit same time,” unindicted coconspirator Abbas provided the
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 1   account information for a bank account in Bulgaria, including the

 2   IBAN.

 3           Overt Act No. 9:    On February 12, 2019, defendant ALAUMARY

 4   sent an electronic message to UICC 1 stating that defendant ALAUMARY
 5   could provide four bank accounts that could be used to receive funds
 6   from the cyber-heist of the Victim Maltese Bank -- three that could
 7   receive wire transfers in euros and one that could receive wire
 8   transfers in United States dollars.
 9           Overt Act No. 10:   On February 12, 2019, defendant ALAUMARY
10   sent an electronic message to unindicted coconspirator Abbas stating
11   that €500,000 had been wired to the Romanian bank account that
12   unindicted coconspirator Abbas had provided.
13           Overt Act No. 11:   On February 12, 2019, defendant ALAUMARY
14   sent electronic messages to unindicted coconspirator Abbas stating
15   that the fraudulent wire transfer of €500,000 had come from the
16   Victim Maltese Bank, and that “we still have access and they didn’t
17   realize , we gonna shoot again tomoro am.”
18           Overt Act No. 12:   On February 12, 2019, UICC 1 sent an
19   electronic message to defendant ALAUMARY stating that the Victim
20   Maltese Bank had discovered the fraudulent euro transfer, but that
21   defendant ALAUMARY should check the United States bank account to see
22   if that transfer was successful.
23                                    BEC Schemes
24           Overt Act No. 13:   On May 8, 2019, after defendant ALAUMARY
25   sent electronic messages to unindicted coconspirator Abbas asking for
26   a bank account that could be used in a scheme to “swap” the account
27   on file and that the account be able to “handle millions and not
28   block,” unindicted coconspirator Abbas sent defendant ALAUMARY the

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 1   account information for a bank account in Mexico, including the

 2   account number and IBAN.

 3        Overt Act No. 14:      On May 13, 2019, defendant ALAUMARY told

 4   unindicted coconspirator Abbas that the bank account in Mexico would
 5   be used to receive payments of ǧ3-6 million per week, up to ǧ100
 6   million from the Victim English Premier LHDJXH&OXEDQGǧPLOOLon
 7   from the Victim U.K. Company, and requested another bank account that
 8   could be used to receive fraudulent wire transfers.
 9        Overt Act No. 15:      On August 14, 2019, defendant ALAUMARY
10   instructed a coconspirator to open a business bank account in the
11   name of a specific business (“Company A”).
12        Overt Act No. 16:      On August 14, 2019, at the direction of
13   defendant ALAUMARY, a coconspirator filed a fictitious business name
14   statement with the Los Angeles County Registrar-Recorder/County Clerk
15   (“LACRRCC”) in the name of Company A.
16        Overt Act No. 17:      On August 14, 2019, at the direction of
17   defendant ALAUMARY, a coconspirator opened US Bank Account 1 in
18   Woodland Hills, California, in the name of Company A.
19        Overt Act No. 18:      On August 16, 2019, UICC 2 or a
20   coconspirator fraudulently induced the Victim Federal Contractor
21   through a BEC scheme to wire transfer approximately $13,966.00 to US
22   Bank Account 1.
23        Overt Act No. 19:      On August 19, 2019, after defendant ALAUMARY
24   sent UICC 3 an electronic message asking which bank account they
25   would be using for “the big one tomorrow,” defendant ALAUMARY and
26   UICC 3 exchanged electronic messages and agreed to use the CIBC
27   Account, which was opened in the name of UICC 3, to receive the
28   fraudulent payment.

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 1        Overt Act No. 20:      On August 19, 2019, defendant ALAUMARY sent

 2   UICC 2 an electronic message containing the name, address, and social

 3   security number of the account holder of US Bank Account 1, as well

 4   as the bank account number, and the bank account username and

 5   password, for US Bank Account 1.

 6        Overt Act No. 21:      On August 19, 2019, after receiving an

 7   electronic message from UICC 3 containing the business name, account
 8   number, SWIFT code, and business address for the CIBC Account,
 9   defendant ALAUMARY sent that information to UICC 2.
10        Overt Act No. 22:      On August 19, 2019, UICC 2 or a
11   coconspirator fraudulently induced the Victim Federal Contractor
12   through a BEC scheme to wire transfer approximately $538,781.66 to US
13   Bank Account 1.
14        Overt Act No. 23:      On August 20, 2019, at the direction of
15   defendant ALAUMARY, a coconspirator attempted a wire transfer of
16   approximately $509,880 from US Bank Account 1 to the CIBC Account.
17        Overt Act No. 24:      On September 13, 2019, defendant ALAUMARY
18   instructed UICC 4 to open a business bank account in the name of a
19   specific business (“Company B”).
20        Overt Act No. 25:      On September 17, 2019, at the direction of
21   defendant ALAUMARY, UICC 4 and another coconspirator filed a
22   fictitious business name statement with the LACRRCC in the name of
23   Company B.
24        Overt Act No. 26:      On September 17, 2019, at the direction of
25   defendant ALAUMARY, UICC 4 and another coconspirator opened US Bank
26   Account 2 in Inglewood, California, in the name of Company B.
27        Overt Act No. 27:      On September 17, 2019, defendant ALAUMARY
28   sent UICC 5 an electronic message containing the name of the account

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 1   holder of US Bank Account 1, as well as the bank account number and

 2   routing number for US Bank Account 2.

 3        Overt Act No. 28:      On September 19, 2019, UICC 5 or a

 4   coconspirator induced the Victim Consumer Products Company to wire
 5   transfer approximately $1,170,175.21 to US Bank Account 2.
 6        Overt Act No. 29:      On September 19, 2019, defendant ALAUMARY
 7   sent electronic messages to UICC 4 saying “His doing t now,” and
 8   “[c]heck the us bank 1.1.”
 9        Overt Act No. 30:      On September 19, 2019, defendant ALAUMARY
10   communicated by video chat with UICC 4, and thereafter sent an
11   electronic message to UICC 5 containing a mobile device screenshot of
12   an ATM receipt for US Bank Account 2 showing a balance of
13   $1,169,775.21.
14        Overt Act No. 31:      On September 19, 2019, defendant ALAUMARY
15   exchanged electronic messages with UICC 5 about a check, and
16   defendant ALAUMARY caused a coconspirator to send by FedEx -- to a
17   California address provided by UICC 5 -- a check of approximately
18   $772,000 drawn from US Bank Account 2.
19        Overt Act No. 32:      On October 15, 2019, unindicted
20   coconspirator Abbas or a coconspirator fraudulently induced the
21   Victim Law Firm to wire transfer approximately $922,857.76 from its
22   account at Quontic Bank, held in the State of New York, to the Chase
23   Account.
24        Overt Act No. 33:      On October 17, 2019, unindicted
25   coconspirator Abbas sent defendant ALAUMARY an electronic message
26   containing a photograph of a wire transfer confirmation relating to a
27   wire transfer of approximately $396,050 from the Chase Account to the
28   CIBC Account.

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 1        Overt Act No. 34:      On October 17, 2019, defendant ALAUMARY

 2   informed UICC 3, through an electronic message, to look for a wire

 3   transfer of approximately $396,050 to the CIBC Account.

 4        Overt Act No. 35:      On October 17, 2019, while within the

 5   Central District of California, UICC 3 informed defendant ALAUMARY,
 6   through an electronic message, that the sum of approximately $396,050
 7   had been credited to the CIBC Account.
 8        Overt Act No. 36:      On October 17, 2019, defendant ALAUMARY told
 9   unindicted coconspirator Abbas, through an electronic message, that
10   the wire transfer of approximately $396,050 from the Chase Account to
11   the CIBC Account had been completed.
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 1                            FORFEITURE ALLEGATION ONE

 2                    [18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1) and Title 28, United States Code,

 7   Section 2461(c), in the event of defendant’s conviction of the

 8   offense set forth in Count One of this Information.

 9        2.    Defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   Any property, real or personal, involved in such

12   offense, and any property traceable to such property; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), defendant, if so

19   convicted, shall forfeit substitute property, if, by any act or

20   omission of defendant, the property described in the preceding

21   paragraph, or any portion thereof: (a) cannot be located upon the

22   exercise of due diligence; (b) has been transferred, sold to, or

23   deposited with a third party; (c) has been placed beyond the

24   jurisdiction of the court; (d) has been substantially diminished in

25   value; or (e) has been commingled with other property that cannot be

26   divided without difficulty.      Substitution of assets shall not be

27   ordered, however, where the convicted defendant acted merely as an

28   intermediary who handled but did not retain the property in the

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 1   course of the money laundering offense unless defendant, in

 2   committing the offense or offenses giving rise to the forfeiture,

 3   conducted three or more separate transactions involving a total of

 4   $100,000.00 or more in any twelve-month period.

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 6                                      NICOLA T. HANNA
                                        United States Attorney
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 9                                      CHRISTOPHER D. GRIGG
                                        Assistant United States Attorney
10                                      Chief, National Security Division
11                                      CAMERON L. SCHROEDER
                                        Assistant United States Attorney
12                                      Chief, Cyber & Intellectual Property
                                          Crimes Section
13
                                        ANIL J. ANTONY
14                                      Assistant United States Attorney
                                        Deputy Chief, Cyber & Intellectual
15                                        Property Crimes Section
16                                      KHALDOUN SHOBAKI
                                        Assistant United States Attorney
17                                      Cyber & Intellectual Property Crimes
                                          Section
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